Case 1:20-cr-00585-ALC Document 24 Filed 02/09/21 Page 1of1

 

 

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UNITED STATES DISTRICT COURT Doct: ——— eee
SOUTHERN DISTRICT OF NEW YORK _ DATE » 2-1-2) __
x
UNITED STATES OF AMERICA, ;
Plaintiff, :
20-CR-585 (ALC)
-against- :
: ORDER
RONALD ROMANO, .
Defendant. :
x

ANDREW L. CARTER, JR., District Judge:

A Telephone Status Conference is set for March 15, 2021 at 10:00 a.m. The parties
should contact the Court at 1-888-363-4749 on the date and time specified above and once

prompted, should dial access code 3768660.

SO ORDERED.
Dated: New York, New York
February 9, 2021

ANDREW L. CARTER, JR. -
United States District Judge

 

 

 
